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    1    STEVE BODMER
         Pechanga Office of General Counsel
    2    P.O. Box 1477
    3    Temecula, California 92593
         Telephone: 951-770-6171
    4    E-mail: sbodmer@pechanga-nsn.gov
         Attorney for Plaintiff-
    5    Intervenor/Defendant
    6    Pechanga Band of Luiseño Indians

    7
    8
    9                         UNITED STATES DISTRICT COURT
   10                       SOUTHERN DISTRICT OF CALIFORNIA
   11
   12    UNITED STATES OF AMERICA,                  Case No. 51-01247-GPC-RBB
                                                    Judge: Hon. Gonzalo P. Curiel
   13                       Plaintiff,              Courtroom: 2D
   14          v.                                   PROOF OF SERVICE
   15    FALLBROOK PUBLIC UTILITY
         DISTRICT, et al.,
   16
                      Defendants.
   17
   18                                 PROOF OF SERVICE
   19         I am a citizen of the United States and employed in Temecula, California. I
   20   am over the age of eighteen years and not a party to the within-entitled action. My
   21
        business address is P.O. Box 1477, Temecula, California 92593.
   22
   23         I hereby certify that all counsel of record who are deemed to have consented
   24   to electronic service are being served with a copy of these documents via the
   25
        court’s CM-ECF system per Federal Rule of Civil Procedure 5(b)(2)(E). Any other
   26
   27   counsel of record and parties will be served by first class mail on April 5, 2021.
   28
                                                                                PROOF OF SERVICE
                                                                     CASE NO. 51-CV-01247-GPC-RBB
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    1         I am readily familiar with this office’s practice for collection and processing
    2
        of correspondence for mailing with the United States Postal Service. On April 5,
    3
    4   2021, I placed with this office at the above address for deposit with the United

    5   States Postal Service a true and correct copy of the within document(s):
    6
    7           NOTICE OF PECHANGA BAND OF LUISEÑO MISSION
    8
                INDIANS WATER SETTLEMENT ACT ENFORCEABILITY
    9
        in a sealed envelope, postage fully paid, addressed as follows:
   10
   11         See Attachment A
   12
              Following ordinary business practices, the envelope was sealed and placed
   13
   14   for collection and mailing on this date, and would, in the ordinary course of

   15   business, be deposited with the United States Postal Service on this date.
   16
              I declare that I am employed in the office of a member of the bar of this court
   17
   18   at whose direction the service was made.

   19         Executed on April 5, 2021, at Temecula, California.
   20
   21
   22                                                           Marcy Hernandez

   23
   24
   25
   26
   27
   28
                                                                                PROOF OF SERVICE
                                                 -2-                CASE NO. 51-CV-01247-GPC-RBB
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                                 Attachment A

  Anna Gale James                          John Ellison
  40275 Curry Court                        49975 Indian Rock
  Aguanga, CA 92536                        Aguanga, CA 92536

  Archie D. McPhee                         John S Wilson
  40482 Gavilan Mountain Road              14205 Minorca Cove
  Fallbrook, CA 92028                      Del Mar, CA 92014-2932

  Barbara Cole                             Khyber Courchesne
  33175 Temecula Pkwy                      1264 Page Street
  Ste. A                                   San Francisco, CA 94117
  Temecula, CA 92592-7300
                                           Michael J Machado
  Briar McTaggart                          P O Box 391607
  1642 Merion Way 40E                      Anza, CA 92539
  Seal Beach, CA 90740
                                           Pamela M Machado
  Carl Gage                                P O Box 391607
  40685 Tumbleweed Trail                   Anza, CA 92539
  Aguanga, CA 92536
                                           Peggy Wilson
  Carol Lueras                             14205 Minorca Cove
  623 Beverly Blvd.                        Del Mar, CA 92014-2932
  Fullerton, CA 96833
                                           Robert Mannschreck
  Carolyn Ellison                          1600 Kiowa Ave
  49975 Indian Rock                        Lake Havasu City, AZ 86403
  Aguanga, CA 92536
                                           Thomas C Perkins
  Diane Mannschreck                        7037 Gaskin Place
  1600 Kiowa Ave                           Riverside, CA 92506
  Lake Havasu City, AZ 86403

  Donna Gage
  40685 Tumbleweed Trail
  Aguanga, CA 92536

  Edward Lueras
  623 Beverly Blvd.
  Fullerton, CA 96833

  James L. Markman
  Richards Watson & Gershon
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  PO Box 1059
  Brea, CA 92822-1059
